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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:13CR252
       vs.                                 )
                                           )                       ORDER
BRICE LENHARD,                             )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION TO EXTEND DEADLINE
FOR FILING OF PRETRIAL MOTIONS [41]. For good cause shown, I find that the motion
should be granted. Pretrial Motions shall be filed by December 5, 2013.

       IT IS ORDERED:

     1.    Defendant's MOTION TO EXTEND DEADLINE FOR FILING OF PRETRIAL
MOTIONS [41] is granted. Pretrial motions shall be filed on or before December 5, 2013.

        2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between November 5, 2013 and
December 5, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 5th day of November, 2013.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
